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Subject: Date:

United States v. Anthony Scott Llovd November 17, 2017

To: From: 'r… :

KIRY K. GRAY VERONICA DRAGALIN ft ~

Clerl<, United States District Court Assistant United States Attorney jj §:1

Central District of California Criminal Division m
The accompanying matter being filed on November 17, 2017, "' §;§

relates to X does not relate to z

(l) a matter pending in the Criminal Division of the USAO at any time between October 2002 and October 5, 2003, the
dates during which Jacqueline Chooljian was Chief of the Criminal Division in the USAO; (2) a matter pending in the
Major Frauds Section of the USAO at any time between October 5, 2003 and January 6, 2006, the date on which
Jacqueline Chooljian resigned her appointment in the USAO; or (3) a matter in which Jacqueline Chooljian was
personally involved or on which she was personally consulted while employed in the USAO.

relates to X does not relate to

a matter in which Patrick J. Walsh was personally involved or on which he Was personally consulted while employed in
the USAO.

relates to X does not relate to

(l) a matter pending in the Riverside Branch of the USAO at any time between October 2, 2006 and April 4, 2011, the
dates spanning the date when Sheri Pym became the Chief of the Riverside Branch of the USAO and the date when she
resigned her appointment in the USAO; or (2) a matter in which Sheri Pym was personally involved or on which she
was personally consulted while employed in the USAO.

relates to X does not relate to

(l) a matter pending in the Major Frauds Section of the USAO at any time between May 8, 2009 and March 31, 2011,
the dates spanning the date when Michael Wilner became a Deputy Chief of the Maj or Frauds Section of the USAO and
the date when he resigned his appointment in the USAO; or (2) a matter in which Michael Wilner was personally
involved or on which he was personally consulted while employed in the USAO.

relates to X does not relate to

(l) a matter pending in the Appellate Section of the USAO at any time between February 2002 and May 2002, the time
period during which Jean Rosenbluth served as the Chief of the Appellate Section of the USAO; (2) a matter in which
Jean Rosenbluth was personally involved or on which She was personally consulted while employed in the USAO
(between October l, 1995 and May 31, 2002 as an Assistant United States Attomey, and between August l, 2002 and
July 31, 2008 as a Special Assistant United States Attorney); (3) a matter in which current Assistant United States
Attorney Richard Robinson is or has been personally involved, or a matter on which he has personally consulted while
employed in the USAO; or (4) a matter pending in the Major Frauds Section of the USAO between May 4, 20l2 and
August 14, 2015, the time period during Which Richard Robinson served as the Chief of the Major Frauds Section of the
USAO.

 

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relates to X does not relate to

(1) a matter pending in the Maj or Frauds Section of the USAO at any time between December 2001 and August 20,
2013, the dates spanning the date when Alka Sagar became a Deputy Chief of the Major Frauds Section of the USAO
and the date when she resigned her appointment in the USAO; (2) a matter pending in the Maj or Crimes Section of the
USAO at any time between January 1991 and December 2001, the time period during which Alka Sagar served as a
Deputy Chief of the Maj or Crimes Section of the USAO; or (3) a matter in which Alka Sagar was personally involved
or on which she was personally consulted while employed in the USAO.

relates to X does not relate to

(1) a matter pending in the Santa Ana branch of the USAO at any time between April 2007, to August 22, 2013, the
dates spanning the date when Douglas McCormick became a Deputy Chief of Santa Ana Branch of the USAO and the
date when he resigned his appointment in the USAO; or (2) a matter in which Douglas McCoIniick was personally
involved or on which he was personally consulted while employed in the USAO.

relates to X does not relate to

(1) a matter pending in the General Crimes Section of the USAO at any time between January 12, 2012, and April 30,
2015, the dates spanning the date when Rozella Oliver became a Deputy Chiei` of the General Crimes Section of the
USAO, and subsequently, Chief of the General Crimes Section of the USAO, and the date when she resigned her
appointment in the USAO; or (2) a matter in which Rozella Oliver was personally involved or on which she was
personally consulted while employed in the USAO; or (3) a matter in which former Assistant United States Attorney
Evan Davis is or has been personally involved, or a matter on which he has personally consulted while employed in the
USAO.

relates to X does not relate to

a matter in which Gail J. Standish was personally involved or on which she was personally consulted while employed in
the USAO (from May 1997 to Apri12001).

relates to X does not relate to

a matter in which Steve Kim was personally involved or on which he was personally consulted while employed in the
USAO (from September 2003 to November 2007).

relates to X does not relate to

a matter in which John Early was personally involved or on which he was personally consulted while employed in the

USAO (from June 1999 to January 2005).
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Assistant United States Attorney

 

